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   Rev: 




                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA
                  vs.                                       Criminal No.               21-727


  EVAN NEUMANN
                                                         Category     B




                          Defendant(s)



                                      REASSIGNMENT OF CRIMINAL CASE


   The above-entitled case was reassigned on            3/11/2022      from Judge Colleen Kollar-Kotelly

to Calendar Committee                             by direction of the Calendar Committee.



                                      (Defendant is a Fugitive)


                                                                  JUDGE 58'2/3+&2175(5$6
                                                                  Chair, Calendar and Case
                                                                  Management Committee




   cc:            Judge Colleen Kollar-Kotelly                    & Courtroom Deputy
                  Calendar Committee

                  U.S. Attorney’s Office – Judiciary Square Building, Room 5133
                  Statistical Clerk
